Case 9:21-cv-82193-RS Document 18 Entered on FLSD Docket 04/05/2022 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 9:21-cv-82193


  THE PROFESSIONAL GOLFERS’
  ASSOCIATION OF AMERICA,

                         Plaintiff,

                 v.

  JTBC PLUS CORPORATION,

                         Defendant.



   THE PARTIES’ SCHEDULING CONFERENCE REPORT AND DISCOVERY PLAN

       Pursuant to Fed. R. Civ. P. 26(f) and Local Rule 16.1, The Professional Golfers’ Association

of America (“Plaintiff”) and JTBC Plus Corporation (“Defendant,” collectively the “Parties”) jointly

propose the following scheduling dates:

   1. Litigation Track: The Parties recommend that the case be assigned to the Standard Case

       Management Track.



   2. Scheduling Report

           a. THE LIKELIHOOD OF SETTLEMENT:

       The Parties are discussing settlement, and expect initial numbers to be communicated in the
       coming weeks.


           b. THE LIKELIHOOD OF APPEARANCE IN THE ACTION OF ADDITIONAL
              PARTIES:

       No other parties are anticipated.

           c. PROPOSED TIME LIMITS:

       The Parties propose the following time limits and deadlines:

                  (i) A deadline of April 25, 2022 to amend the pleadings and join other parties
                      without leave of Court;
15537613 v6
Case 9:21-cv-82193-RS Document 18 Entered on FLSD Docket 04/05/2022 Page 2 of 5




                  (ii) A deadline of September 15, 2022 to complete fact discovery.


          d. PROPOSALS FOR THE FORMULATION AND SIMPLIFICATION OF ISSUES,
             INCLUDING THE ELIMINATION OF FRIVOLOUS CLAIMS OR DEFENSES,
             AND THE NUMBER AND TIMING OF MOTIONS FOR SUMMARY
             JUDGMENT OR PARTIAL SUMMARY JUDGMENT:

          Summary judgment may be appropriate, with each party filing no more than one motion
          no later than December 1, 2022.

          e. THE NECESSITY OF AMENDMENTS TO THE PLEADINGS:

          None expected.

          f. THE POSSIBILITY OF OBTAINING ADMISSIONS OF FACT AND OF
             DOCUMENTS, ELECTRONICALLY STORED INFORMATION OR THINGS
             WHICH WILL AVOID UNNECESSARY PROOF, STIPULATIONS REGARDING
             AUTHENTICITY   OF   DOCUMENTS,     ELECTRONICALLY   STORED
             INFORMATION OR THINGS, AND THE NEED FOR ADVANCE RULINGS
             FROM THE COURT ON ADMISSIBILITY OF EVIDENCE:

          The Parties expect to cooperate to ensure trial can be expeditious.


          g. SUGGESTIONS FOR THE AVOIDANCE OF UNNECESSARY PROOF AND OF
             CUMULATIVE EVIDENCE:

              None.

          h. SUGGESTIONS ON THE ADVISABILITY OF REFERRING MATTERS TO A
             MAGISTRATE JUDGE OR MASTER:

              The Parties do not wish to refer the case to a magistrate judge at this time.


          i. A PRELIMINARY ESTIMATE OF THE TIME REQUIRED FOR TRIAL:

              It is anticipated a jury trial will take one to three days.


          j. REQUESTED DATE OR DATES FOR CONFERENCES BEFORE TRIAL, A
             FINAL PRETRIAL CONFERENCE, AND TRIAL (INDICATE THE PROPOSED
             MONTH AND YEAR OF TRIAL AND WHETHER JURY OR BENCH TRIAL).

              The parties suggest a final pretrial conference in early February 2023 and a jury trial
              in March 2023.


15537613 v6
Case 9:21-cv-82193-RS Document 18 Entered on FLSD Docket 04/05/2022 Page 3 of 5




             k. ANY OTHER INFORMATION THAT MIGHT BE HELPFUL TO THE COURT IN
                SETTING THE CASE FOR STATUS OR PRETRIAL CONFERENCE.

                        None.

                                             Discovery Plan

      A.      The Parties have made their Initial Disclosures pursuant to Federal Rule of Civil
Procedure 26(a) on April 4, 2022.

      B.      Fact discovery should be completed by September 15, 2022. There is no need to
conduct discovery in phases or to limit/focus discovery on particular issues at this time.

        C.      At this time, there are no issues concerning disclosure, discovery, or preservation of
electronically stored information.

       D.     At this time, there are no issues concerning claims of privilege or protection as to trial
preparation materials.

       E.      No changes should be made as to the limitations on discovery imposed by the Federal
Rules of Civil Procedure or this Court’s Local Rules.

        F.    Other than the Scheduling Order, which the Parties have submitted with this report
and plan pursuant to Local Rule 16.1(b)(3), there are no orders—at this time—that the Court should
issue under Federal Rules of Civil Procedure 26(c), 16(b), or 16(c).

        G.      The Parties propose the following detailed discovery/pretrial schedule:



       On or before September 1, 2022, Plaintiff shall furnish opposing counsel with a written list
containing the names and addresses of all expert witnesses intended to be called at trial and only
those expert witnesses listed shall be permitted to testify. On or before October 10, 2022, such
experts shall provide reports identifying the method and substance of their expected testimony.
Within the three-week period following this disclosure, Plaintiff shall make its experts available for
deposition by Defendant and such depositions must be completed by November 1, 2022. The
experts’ depositions may be conducted without further order from the Court. Plaintiff expects expert
discovery to be minimal, given the simplicity of the claim for breach due to nonpayment..

       On or before October 1, 2022, Defendant shall furnish opposing counsel with a written list
containing the names and addresses of all expert witnesses intended to be called at trial and only
those expert witnesses listed shall be permitted to testify. On or before November 10, 2022, such
experts shall provide reports identifying the method and substance of their expected testimony.
Within the three-week period following this disclosure, Defendant shall make their experts available
for deposition by Plaintiff and such depositions must be completed by December 1, 2022. The
experts’ depositions may be conducted without further order from the Court.

        On or before August 1, 2022, the Parties shall furnish opposing counsel with a written list
containing the names and contact information of all witnesses intended to be called at trial and only
those witnesses listed shall be permitted to testify unless the Parties stipulate to additions, or the Court
grants a motion for such a request.

        On or before ___September 15, 2022_____, all fact discovery should be completed.
15537613 v6
Case 9:21-cv-82193-RS Document 18 Entered on FLSD Docket 04/05/2022 Page 4 of 5



       On or before ___November 15, 2022_____, mediation shall occur.

       On or before ______December 31, 2022, all dispositive motions, such as motions to
dismiss, motions for summary judgment, pretrial motions and memoranda of law (except for
motions in limine), should be filed.

        On or before January 31, 2023 counsel to have conferred in preparation of a pretrial
stipulation.

       The Parties request a one to three (1-3) day jury trial in the March 2023 trial period.

       A proposed Scheduling Order as required pursuant to Local Rule 16.1(b) is attached hereto
as Exhibit A.



Dated: April 5, 2022

                                                   Respectfully submitted,

                                                     /s/ Nicholas J. Secco
                                                     Nicholas J. Secco
                                                     James E. von der Heydt (pro hac vice)
                                                     Florida Bar No. 110091
                                                     BENESCH FRIEDLANDER COPLAN
                                                     &ARONOFF
                                                     333 West Wacker Drive, Suite 1900
                                                     Chicago, IL 60606
                                                     Telephone: (312) 212-4949
                                                     Facsimile: (312) 212-9192
                                                     Email: nsecco@beneschlaw.com
                                                             jvonderheydt@beneschlaw.com

                                                     Attorneys for Plaintiff The Professional
                                                     Golfers’ Association of America

                                                      /s/ Jinhee Kim
                                                     Jinhee Kim (pro hac vice)
                                                     Somin Jun (pro hac vice)
                                                     Mary A. Kosman (pro hac vice)
                                                     JIPYONG LLC
                                                     26F, Grand Central, 14 Sejong-daero
                                                     Jung-gu, Seoul 04527, Korea
                                                     Telephone: +82-2-6200-1782
                                                     Facsimile: +82-2-6200-0823
                                                     Email: jinheekim@jipyong.com
                                                             smjun@jipyong.com
                                                             marykosman@jipyong.com

                                                     Attorneys for Defendant




15537613 v6
Case 9:21-cv-82193-RS Document 18 Entered on FLSD Docket 04/05/2022 Page 5 of 5




                                    CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on April 5, 2022, I electronically filed The Parties Scheduling

Conference Report and Discovery Plan via the Court’s CM/ECF filing system which will send

notifications of this filing to all counsel of record.



                                                         /s/ Nicholas J. Secco
                                                         Nicholas J. Secco




15537613 v6
